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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

  DEBORAH FRANK,

         Plaintiff,

  v.                                                       Case No:

  VERIZON COMMUNICATIONS,
  INC.,
                                                           DEMAND FOR JURY TRIAL
        Defendant.
  _____________________________/


        PLAINTIFF’S COMPLAINT WITH INJUNCTIVE RELIEF SOUGHT

         COMES NOW, Plaintiff, DEBORAH FRANK (“Ms. Frank” or “Plaintiff”), by

  and through the undersigned counsel, and hereby sues and files this Complaint and

  Demand for Jury Trial with Injunctive Relief Sought against Defendant, VERIZON

  COMMUNICATIONS, INC. (“Defendant”), and in support thereof states as follows:

                                            Introduction

         1.      This action arises out of an alleged “Debt” or “Consumer Debt” as defined

  by Fla. Stat. § 559.55 (6) and Defendant’s violations of the Restrictions on Use of

  Telephone Equipment, 47 U.S.C. § 227 et. seq. (“TCPA”), and the Florida Consumer

  Collection Practices Act, Fla. Stat. § 559.72 et. seq. (“FCCPA”), in attempting to collect

  such Debt by using an automatic telephone dialing system or automated voice or

  prerecorded message to call Ms. Frank’s Cellular Telephone without Ms. Frank’s prior

  express consent and even after Ms. Frank told Defendant that it had the wrong number




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  and demanded that Defendant stop calling her Cellular Telephone, which can reasonably

  be expected to harass Ms. Frank.

                                        Jurisdiction and Venue

          2.      This Court has subject matter jurisdiction over the instant case arising

  under the federal question presented in the TCPA pursuant to 28 U.S.C. § 1331.

          3.      Venue lies in this District pursuant to 28 U.S.C. § 1391 (b) and Fla. Stat. §

  559.77 (1), as a substantial part of the events or omissions giving rise to the claims

  occurred in this judicial district.

                                                 Parties

          4.      Plaintiff, Ms. Frank, was and is a natural person and, at all times material

  hereto, is an adult, a resident of Pinellas County, Florida, and a “debtor” or “consumer”

  as defined by Fla. Stat. § 559.55 (8).

          5.      Further, Ms. Frank is an “alleged debtor” within the meaning of Fla. Stat.

  § 559.55.

          6.      Ms. Frank is the “called party” as referenced in the TCPA, 47 U.S.C. §

  227 (b) (1) (A) (iii), for all calls placed to cellular telephone number 740-***-1010 (“Ms.

  Frank’s Cellular Telephone”).

          7.      At all times material hereto, Defendant was and is a corporation with its

  principle place of business in the State of New York and its registered agent, CT

  Corporation System, located at 1200 South Pine Island Road, Plantation, FL 33324.




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                                          Statements of Fact

         8.       In or around early March of 2019, Ms. Frank began receiving calls on her

  Cellular Telephone from Defendant.

         9.       Under information and belief, Defendant found Ms. Frank’s Cellular

  Telephone through skip tracing.

         10.      In its calls, Defendant asked for a “Michael L. Nielson,” in its attempts to

  a collect an alleged personal debt owed to Defendant (“Debt”).

         11.      Ms. Frank answered one of Defendant’s first calls and told Defendant that

  it had the wrong number, that she did not owe the debt, and demanded Defendant stop

  calling her Cellular Telephone.

         12.      Despite Ms. Frank’s demand, Defendant continued to place calls to Ms.

  Frank’s Cellular Telephone in attempts to collect the Debt.

         13.      On or around March 15, 2019, Ms. Frank spoke with Defendant again and

  told Defendant for the second time to stop calling her Cellular Telephone.

         14.      Despite Ms. Frank’s second demand, on or around March 18, 2019,

  Defendant called Ms. Frank’s Cellular Telephone again in attempts to collect a debt.

         15.      For the third time, Ms. Frank answered Defendant’s call and demanded

  Defendant stop calling Ms. Frank’s Cellular Telephone.

         16.      The very next day, despite Ms. Frank’s third demand, Defendant called

  Ms. Frank’s Cellular Telephone yet again in attempts to collect a debt, despite Ms.

  Frank’s several demands.




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         17.      For the fourth time, Ms. Frank answered Defendant’s call and told

  Defendant that it had the wrong number and demanded that Defendant stop calling her

  Cellular Telephone.

         18.      Despite Ms. Frank’s demands, Defendant continued to place calls to Ms.

  Frank’s Cellular Telephone in attempts to collect the debt.

         19.      Defendant has called Ms. Frank’s Cellular Telephone at least thirty (30)

  times during the time period from early March of 2019 to the present date.

         20.      Defendant called Ms. Frank’s Cellular Telephone from several different

  telephone numbers, including, but not limited to: 614-219-3005.

         21.      All of Defendant’s calls to Ms. Frank’s Cellular Telephone were placed in

  an attempt to collect the Debt.

         22.      Defendant has harassed Ms. Frank due to the timing and frequency of

  Defendant’s calls.

         23.      Defendant’s continued calls after Ms. Frank informed Defendant that she

  did not owe the Debt implied that Defendant believed Ms. Frank owed the alleged

  balance that Defendant was seeking to collect.

         24.      Defendant did not have Ms. Frank’s express consent to call her Cellular

  Telephone.

               Count 1: Violation of the Telephone Consumer Protection Act

         25.      Ms. Frank re-alleges paragraphs 1-24 and incorporates the same herein by

  reference.




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          26.      The Restrictions on Use of Telephone Equipment provision, 47 U.S.C. §

  227 (b) (1) prohibits any person:

                            (A) to make any call (other than a call made for
                            emergency purposes or made with the prior express
                            consent of the called party) using any automatic
                            telephone dialing system or an artificial prerecorded
                            voice – (iii) to any telephone number assigned to a
                            paging service, cellular telephone service, . . . or
                            any service for which the called party is charged for
                            the call.

          27.      Ms. Frank never provided any consent for Defendant to call Ms. Frank’s

  Cellular Telephone by the use of an automatic telephone dialing system (“ATDS”) or

  artificial voice or prerecorded message.

          28.      This is because Ms. Frank had no prior business relationship with

  Defendant to provide any prior express consent for Defendant to call Ms. Frank’s

  Cellular Telephone by the use of an automatic telephone dialing system (“ATDS”) or

  artificial voice or prerecorded message.

          29.      Despite never having Ms. Frank’s prior express consent to call Ms.

  Frank’s Cellular Telephone by the use of an ATDS or artificial voice or prerecorded

  message, Defendant called Ms. Frank’s Cellular Telephone at least thirty (30) times.

          30.      Further, Ms. Frank expressly revoked consent to have Defendant call Ms.

  Frank’s Cellular Telephone by the use of an ATDS or artificial voice or prerecorded

  message in or around early March of 2019 when she expressly told Defendant four times

  to stop calling her.

          31.      Ms. Frank also expressly revoked consent to have Defendant call Ms.

  Frank’s Cellular Telephone by the use of an ATDS or artificial voice or prerecorded


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  message in or around early March of 2019 when she expressly told Defendant that she

  did not owe the debt that Defendant was attempting to collect.

         32.      Defendant did not have Ms. Frank’s consent to call her Cellular Telephone

  at any point in time.

         33.      Ms. Frank never provided Defendant with Ms. Frank’s Cellular Telephone

  number.

         34.      Defendant did not place any emergency calls to Ms. Frank’s Cellular

  Telephone.

         35.      Defendant willfully and knowingly placed non-emergency calls to Ms.

  Frank’s Cellular Telephone.

         36.      Ms. Frank knew that Defendant called Ms. Frank’s Cellular Telephone

  using an ATDS because she heard a pause when she answered at least one of the first few

  calls from Defendant on her Cellular Telephone before a live representative of Defendant

  came on the line.

         37.      Ms. Frank knew that Defendant called Ms. Frank’s Cellular Telephone

  using a prerecorded voice because Defendant left Ms. Frank at least one voicemail using

  a prerecorded voice.

         38.      Defendant used an ATDS when it placed at least one call to Ms. Frank’s

  Cellular Telephone.

         39.      Under information and belief, Defendant used an ATDS when it placed at

  least ten calls to Ms. Frank’s Cellular Telephone.




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         40.      Under information and belief, Defendant used an ATDS when it placed at

  least twenty calls to Ms. Frank’s Cellular Telephone.

         41.      Under information and belief, Defendant used an ATDS when it placed all

  calls to Ms. Frank’s Cellular Telephone.

         42.      At least one call that Defendant placed to Ms. Frank’s Cellular Telephone

  was made using a telephone dialing system that has the capacity to store telephone

  numbers to be called.

         43.      At least one call that Defendant placed to Ms. Frank’s Cellular Telephone

  was made using a telephone dialing system that has the capacity to produce telephone

  numbers to be called without human intervention.

         44.      At least one call that Defendant placed to Ms. Frank’s Cellular Telephone

  was made using a telephone dialing system that uses a random number generator.

         45.      At least one call that Defendant placed to Ms. Frank’s Cellular Telephone

  was made using a telephone dialing system that uses a sequential number generator.

         46.      At least one call that Defendant placed to Ms. Frank’s Cellular Telephone

  was made using a prerecorded voice.

         47.      Defendant has recorded at least one conversation with Ms. Frank.

         48.      Defendant has recorded more than one conversation with Ms. Frank.

         49.      Defendant has corporate policies and procedures in place that permit it to

  use an ATDS or artificial voice or prerecorded message to place call individuals to collect

  alleged debts from said individuals, such as Ms. Frank, for its financial gain.




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          50.      Defendant has corporate policies and procedures in place that permit it to

  use an ATDS or artificial voice or prerecorded message, and to place calls to individuals

  using such devices, just as it did to Ms. Frank’s Cellular Telephone, with no way for the

  called party and recipient of the calls to permit, elect, or invoke the removal of the called

  party and recipient of the calls’ cellular telephone number from Defendant’s call list.

          51.      The structure of Defendant’s corporate policies and/or procedures permits

  the continuation of calls to individuals like Ms. Frank, despite individuals like Ms. Frank

  revoking any consent that Defendant believes it may have to place such calls.

          52.      Defendant knowingly employs methods and has corporate policies and

  procedures that do not permit the cessation or suppression of calls placed using an ATDS

  to individual’s cellular telephones, like the calls that it placed to Ms. Frank’s Cellular

  Telephone.

          53.      Defendant has corporate policies to abuse and harass consumers like Ms.

  Frank despite having actual knowledge that they are calling the wrong person and that the

  called person does not wish to be called.

          54.

          55.      Defendant has been sued in federal court where the allegations include:

  calling an individual using an ATDS after the individual asked for the calls to stop.

          56.      Defendant has been sued in federal court where the allegations include:

  calling an individual using an automated or prerecorded voice after the individual asked

  for the calls to stop.

          57.      Defendant’s phone calls harmed Ms. Frank by causing her anxiety.



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         58.      Defendant’s phone calls harmed Ms. Frank by causing her aggravation.

         59.      Defendant’s phone calls harmed Ms. Frank by being annoying.

         60.      Defendant’s phone calls harmed Ms. Frank by invading her privacy.

         61.      All conditions precedent to this action have occurred.

         WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment

  against Defendant as follows:

               a. Awarding statutory damages as provided by 47 U.S.C. § 227 (b) (3) (B),

                  which allows for $500 in damages for each such violation;

               b. Awarding treble damages pursuant to 47 U.S.C. § 227 (b) (3) (C);

               c. Awarding Plaintiff costs;

               d. Ordering an injunction preventing further wrongful contact by the

                  Defendant; and

               e. Any other and further relief as this Court deems just and equitable.


       Count 2: Violation of the Florida Consumer Collection Practices Act (“FCCPA”)


         62.      Ms. Frank re-alleges paragraphs 1-24 and incorporates the same herein by

  reference.

         63.      Defendant violated the FCCPA. Defendant’s violations include, but are

  not limited to, the following:

               a. Defendant violated Fla. Stat. § 559.72(7) by continuing to

                  place calls to Ms. Frank’s Cellular Telephone despite Ms.

                  Frank’s demands that Defendant stop calling her Cellular



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                   Telephone, which can reasonably be expected to harass Ms.

                   Frank.

                b. Defendant violated Fla. Stat. § 559.72(9) by attempting to

                   enforce a debt when Defendant knew that Ms. Frank did

                   not owe the debt.

          64.      As a result of the above violations of the FCCPA, Ms. Frank has been

   subjected to unwarranted and illegal collection activities and harassment for which she

   has been damaged.

          65.      Defendant’s phone calls harmed Ms. Frank by causing her anxiety.

          66.      Defendant’s phone calls harmed Ms. Frank by causing her aggravation.

          67.      Defendant’s phone calls harmed Ms. Frank by being annoying.

          68.      Defendant’s phone calls harmed Ms. Frank by invading her privacy.

          69.      It has been necessary for Ms. Frank to retain the undersigned counsel to

   prosecute the instant action, for which she is obligated to pay a reasonable attorney’s fee.

          70.      All conditions precedent to this action have occurred.

          WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment

   against Defendant as follows:

                   a. Awarding statutory damages as provided by Fla. Stat. § 559.77;

                   b. Awarding actual damages;

                   c. Awarding punitive damages;

                   d. Awarding costs and attorneys’ fees;




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                 e. Ordering an injunction preventing further wrongful contact by the

                     Defendant; and

                 f. Any other and further relief as this Court deems just and equitable.



                                 DEMAND FOR JURY TRIAL

           Plaintiff, Deborah Frank, demands a trial by jury on all issues so triable.



    Respectfully submitted this April 25, 2019,

                                                    /s/ Michael A. Ziegler
                                                    Michael A. Ziegler, Esq.
                                                    Florida Bar No. 74864
                                                    mike@zieglerlawoffice.com

                                                    /s/ Kaelyn Steinkraus
                                                    Kaelyn Steinkraus, Esq.
                                                    Florida Bar No. 125132
                                                    kaelyn@zieglerlawoffice.com

                                                    Law Office of Michael A. Ziegler, P.L.
                                                    2561 Nursery Road, Suite A
                                                    Clearwater, FL 33764
                                                    (p) (727) 538-4188
                                                    (f) (727) 362-4778
                                                    Attorneys and Trial Counsel for Plaintiff




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